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        Lowell P. McKelvey                                            The Honorable Paul Papak
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        Of Attorneys for Defendant American Family Mutual Insurance Company
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   6
                                     UNITED STATES DISTRICT COURT
   7
                                              DISTRICT OF OREGON
   8
                                              PORTLAND DIVISION
   9

  10    WLIE WELLBROCK, individually and as           ) Case No.: 3: 15-cv-00106-PK
        conservator for the Estate of Luke Wellbrock, )
  11
        her minor son,                                ) GENERAL JUDGMENT OF DISl\tllSSAL
  12                                                  )
                                 Plaintiffs,          )
  13           vs.                                    )
                                                      )
  14    Ai\1ERICANFAMILYMUTUAL                        )
        INSURANCE COMPANY,                            )
  15
                                                      )
  16                             Defendant.           )

  17
               Pursuant to the stipulations and agreements of the parties, and the Court being fully
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       . advised herein and having so ordered, that all claims by and between all parties are now fully
  19
        resolved, compromised, and settled.
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        Ill
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        Ill
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        Ill
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        Ill
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        Ill
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Page 1 - . GENERAL JUDGMENT OF DISl\tllSSAL
                                                                                         MCKELVEY KOZUMA P.C,
                                                                                            ATTORNEYS AT LAW
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               Case 3:15-cv-00106-PK          Document 24        Filed 11/30/15           Page 2 of 2




              NOW, THEREFORE, IT IS HEREBY ORDERED Al'lD ADillDGED that all claims

   2   asserted by and between all parties in this matter be dismissed with prejudice and without an

   3   award of costs or attorney fees to any party.

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                                                           Honorable Paul Papak
   6                       210
              DATED this t4'h Day ofNovember, 2015
                                                           ii. s. m11c1:::rf1Arr:   70: vc,,:

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   8
       Submitted by:
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  10   MCKELVEY KOZUMA, P.C.
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       By:~=~~~-~=~==~----
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Page 2 - GENERAL JUDGMENT OF DISlVIISSAL
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